  Case:19-04116-MCF7 Doc#:23 Filed:09/24/19 Entered:09/24/19 07:19:25   Desc: Main
                     UNITED Document
                            STATES BANKRUPTCY
                                         Page 1 of 2COURT
                         DISTRICT OF PUERTO RICO



IN RE:                                           CASE NO. 19-04116-MCF
NILDA RIOS RIVERA
XXX-XX-8659

                                                    CHAPTER 13

      DEBTOR (S)


                    TRUSTEE'S OBJECTION TO CLAIM #04-1
         FILED BY (OR ON BEHALF OF):BANCO POPULAR DE PUERTO RICO

TO THE HONORABLE COURT:

    NOW COMES Jose R. Carrion, Chapter 13 Trustee, and very respectfully
alleges and prays:
   The Trustee objects to Claim #04-1, filed on August 14, 2019 for the
amount of $188,496.68, classified as SECURED on the following grounds:
• Failure to comply with Fed. R. Bankr. P. 3001(c), no written evidence
of the claimed debt was filed with the proof of claim.


   WHEREFORE the Trustee respectfully prays that this motion be granted
for the reason herein set forth and that an order be entered:
   Disallowing objected Claim.

   NOTICE: Within thirty (30) days after service as evidenced by the
certification, and an additional three (3) days pursuant to Fed. R. Bank.
P. 9006(f) if you were served by mail, any party against whom this paper
has been served, or any other party to the action who objects to the
relief sought herein, shall serve and file an objection or other
appropriate response to this paper with the clerk's office of the United
States Bankruptcy Court for the District of Puerto Rico. If no objection
or other response is filed within the time allowed herein, the objection
will be deemed unopposed and may be granted unless:(1) the requested
relief is forbidden by law;(2) the requested relief is against public
policy; or (3) in the opinion of the court, the interest of justice
requires otherwise. If you file a timely response, the court may schedule
a hearing.

      In San Juan, Puerto Rico this Tuesday, September 24, 2019.

                                          /s/ Jose R. Carrion
                                          JOSE R. CARRION
                                          CHAPTER 13 TRUSTEE
                                          PO Box 9023884,Old San Juan Stat.
                                          San Juan, PR 00902-3884
                                          Tel. (787) 977-3535
                                          Fax (787) 977-3550
ESP
Objection to Claim
 Case:19-04116-MCF7                                               Page 2 of
                      Doc#:23 Filed:09/24/19 Entered:09/24/19 07:19:25      2
                                                                         Desc: Main
                             Document 19-04116-MCF
                                          Page 2 of 2
                                          NILDA RIOS RIVERA


                             VERIFIED STATEMENT


     The undersigned, of legal age and as employee of Jose R. Carrion,
Chapter 13 Trustee Office, hereby certifies that on this same date, I
personally and duly notified a true and exact copy of the attached motion
to each party below listed.

    NILDA RIOS RIVERA                     BANCO POPULAR DE PUERTO RICO
    URB PASEOS DEL RIO                    MORTGAGE SERVICE DEPT 762
    269 14 STREET                         PO BOX 362708
    CAGUAS, PR 00725                      SAN JUAN, PR 00936-2708

    ROBERTO FIGUEROA CARRASQUILLO*         BANCO POPULAR DE PUERTO RICO
    PO BOX 186                             C/O BERMUDEZ DIAZ & SANCHEZ LLP
    CAGUAS, PR 00726-0186                  OCHOA BUILDING SUITE 200
                                           500 DE LA TANCA STREET
                                           SAN JUAN, PR 00901




    In San Juan, Puerto Rico this Tuesday, September 24, 2019.




                                                  ____________________
                                                     Chapter 13 Clerk
